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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X               11/6/2020
                                                                       :
BABLU SHAHABUDDIN,                                                     :
                                                                       :
                                    Plaintiff,                         :
                                                                       :     19-cv-10716 (LJL)
                  -v-                                                  :
                                                                       :          ORDER
UNITED STATES OF AMERICA,                                              :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        On October 5, 2020, the parties filed a letter with the Court indicating that they had

reached a proposed settlement and were in the process of preparing the stipulation of settlement

that would be submitted in “the next couple of weeks.” Dkt. No. 27.

        It is hereby ORDERED that the parties shall submit a letter to the Court by November 13,

2020 on the status of the settlement and provide an estimate by which they intend to file the

stipulation of settlement.


        SO ORDERED.


Dated: November 6, 2020                                    __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
